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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  MICHAEL GONIDAKIS, et al.,                      :
                                                  :
                 Plaintiffs,                      :    Case No. 2:22-cv-0773
                                                  :
         v.                                       :    Chief Judge Algenon L. Marbley
                                                  :    Judge Amul R. Thapar
  OHIO REDISTRICTING                              :    Judge Benjamin J. Beaton
  COMMISSION, et al.,                             :
                                                  :    Magistrate Judge Elizabeth P. Deavers
                 Defendants.                      :

                                      SCHEDULING ORDER

         This matter is set for an in-person conference, pursuant to Local Rule 65.1, on Friday,

  March 25, 2022, at 8:45 a.m., regarding Plaintiffs’ Motion for a Temporary Restraining Order

  (ECF No. 84). Counsel for all parties, including Intervenors, are to appear in Courtroom 4, Room

  148 of the U.S. Courthouse located at 85 Marconi Boulevard in Columbus, Ohio, unless they have

  sought and received leave of the Court to participate virtually. Judges Thapar and Beaton will

  appear virtually.

         The Court also has reviewed Plaintiffs’ Emergency Motion for Leave to File a First

  Supplemental Amended Complaint (ECF No. 75). The Motion is GRANTED for the reasons

  stated therein. The Clerk is DIRECTED to docket the First Supplemental Amended Complaint,

  which is Exhibit 1 to the Motion.

         The following additional deadlines are set:

              1. Response briefs to Plaintiffs’ Motion for a Temporary Restraining Order are due

                 no later than 5:00 p.m. on Wednesday, March 23. Plaintiffs’ reply brief is due no

                 later than 12:00 noon on Thursday, March 24.

              2. Plaintiffs shall file a Second Amended Motion for a Preliminary Injunction on or
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                    before Wednesday, March 23. Response briefs are due Friday, March 25, and

                    Plaintiffs’ reply brief is due Monday, March 28.1

               3. The Simon Parties shall file their Intervenor Complaint on or before Wednesday,

                    March 23.

               4. All responsive pleading to Plaintiffs’ First Supplemental Amended Complaint and

                    to all Intervenor Complaints is due by 3:00 p.m. on Tuesday, March 29.

           An in-person hearing on Plaintiffs’ forthcoming Second Amended Motion for a

  Preliminary Injunction is scheduled to begin at 9:00 a.m. on Wednesday, March 30. Counsel for

  all parties, including Intervenors, are to appear in Courtroom 4, Room 148 of the U.S. Courthouse

  located at 85 Marconi Boulevard in Columbus, Ohio. If the hearing lasts more than one day, it

  shall continue on Thursday, March 31, and Friday, April 1, as needed.

           IT IS SO ORDERED.



                                                        ALGENON L. MARBLEY
                                                        CHIEF UNITED STATES DISTRICT JUDGE


                                                        s/ Amul R. Thapar
                                                        AMUL R. THAPAR
                                                        UNITED STATES CIRCUIT JUDGE


                                                        s/ Benjamin J. Beaton
                                                        BENJAMIN J. BEATON
                                                        UNITED STATES DISTRICT JUDGE

  DATED: March 21, 2022

  1
    When briefing the preliminary injunction motion, parties should focus their arguments on the four factors the Court
  will consider in determining whether a preliminary injunction is warranted: “(1) whether the movant has a strong
  likelihood of success on the merits; (2) whether the movant would suffer irreparable injury without the injunction; (3)
  whether issuance of the injunction would cause substantial harm to others; and (4) whether the public interest would
  be served by the issuance of the injunction.” Ne. Ohio Coal. for the Homeless v. Husted, 696 F.3d 580, 590–91 (6th
  Cir. 2012). The briefs shall comport with the length requirement set forth in the Local Rules.
